Case 6:24-cv-00270-AM-DTG   Document 44-6   Filed 03/20/25   Page 1 of 31




              EXHIBIT F
    Case 6:24-cv-00270-AM-DTG             Document 44-6        Filed 03/20/25     Page 2 of 31



              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Title              AUTOMATIC UPLOAD OF PICTURES FROM A CAMERA
Serial. No.        16/663,742         Confirmation No. 3076
Applicant          Jeffrey C. Konicek TC/ A.U.         2852
Filed              October 25, 2019   Examiner         Rodney E. Fuller

Docket No.         Torpere-F04-514
Customer No.       107554



 Mail Stop Amendment
 Commissioner for Patents
 P.O. Box 1450
 Alexandria VA 22313-1450

                       RESPONSE TO NON-FINAL OFFICE ACTION

 Dear Examiner:

         This submission is responsive to the Non-Final Office Action issued in the above-
 captioned application dated February 1, 2021. A request for a two month extension of time, to-
 gether with the required fee, is provided herewith.

        Applicant's Remarks begin on page 2 below.




                                                                                             CEV-0012881
                                                                                                  CEV0000000189
   Case 6:24-cv-00270-AM-DTG              Document 44-6          Filed 03/20/25       Page 3 of 31



                                            REMARKS
        Applicant is in receipt of the Examiner's February 1, 2021 Non-Final Office Action
("NFOA"). Claims 21-28 are currently pending.

  I.    Examiner Interview Summary

        Counsel of record Justin Lesko, the inventor Jeff Koni eek, and the Examiner Rodney
Fuller conducted an interview on June 11, 2021. During the interview, Applicant and the
Examiner discussed the NFOA's Section 112 Written Description rejection. Applicant presented
in outline format the explanation for claim support provided in Section II of this response below.
        In view of Applicant's explanation, the Examiner agreed that the claims are fully
supported and the Section 112 rejection will be withdrawn. The Examiner indicated that if
Applicant submits the explanation for written description support and terminal disclaimers to
overcome the double patenting rejections, this application is in condition for allowance.
        To obviate the double patenting rejections based on U.S. Patent Nos. 9,936,116 and
10,063,761, Applicant files herewith two Forms PTO/AIA/26 (Terminal Disclaimer to Obviate a
Double Patenting Rejection Over a "Prior" Patent), along with the required fees.

  II.   Applicant's Response to the Section 112 Written Description Rejection

        "The subject matter of the claim need not be described literally (i.e., using the same
terms or in haec verba) in order for the disclosure to satisfy the description requirement."
M.P.E.P. 2163.02. Instead, the question is whether the specification conveys with reasonable
clarity to those skilled in the art that the applicant was in possession of the claimed invention.
M .P.E.P. 2163(I)(B), citing Vas-Cath, Inc., 935 F.2d at 1563-64.
        "Factors to be considered in determining whether there is sufficient evidence of
possession include the level of skill and knowledge in the art, partial structure, physical and/or
chemical properties,Junctional characteristics alone or coupled with a known or disclosed
correlation between structure and.function, and the method of making the claimed invention.
Disclosure of any combination of such identifying characteristics that distinguish the claimed
invention from other materials and would lead one of skill in the art to the conclusion that the
applicant was in possession of the claimed species is sufficient." See Eli Lilly, 119 F.3d at 1568
(emphasis added). Also, the description needed to satisfy the requirements of 35 U.S.C. 112



                                                  2




                                                                                               CEV-0012882
                                                                                                     CEV0000000189
  Case 6:24-cv-00270-AM-DTG               Document 44-6          Filed 03/20/25       Page 4 of 31



"varies with the nature and scope of the invention at issue, and with the scientific and
technologic knowledge already in existence." Capon v. Eshhar, 418 F.3d at 1357.
       Applicant responds to each of the NFOA' s points below.
       A. The touchscreen elements are supported.
       The NFOA asserts: "The specification sets forth multiple inventions and teaches a 'touch
sensitive display' in paragraph 22. The claims correspond to an invention that is set forth in
paragraphs 36 - 38 ... ."; "There is no disclosure of the touch sensitive display used to select an
upload option or a user-selectable input related to upload periods"; and "There is no disclosure
that the touch sensitive display is used to select photos to be uploaded."
       Applicant's Response: The specification directly couples known touchscreen LCDs with
the functions of camera control and menu selection as claimed.
       First, the specification describes the touchscreen LCD allowing the user of the system to
"interact with menus, features, and functions displayed on the LCD display" and "control the
camera system" through touch:

       Para. 22 - Another aspect of the present invention provides that the camera LCD
       display (FIG 1, element 14) employs touch sensitive technology. This technology
       is well known in the computer art and can be any of resistive, capacitive, RF, etc
       touch technology. This aspect of the present invention allows the user to interact
       with menus,features and/unctions displayed on the LCD display directly rather
       than through ancillary buttons or cursor control ....
       Para. 31 - [T]he user can interact with the camera through touch, voice, and
       gaze (i.e. , sight) to manipulate menus, control the camera system, compose the
       shot, focus, zoom, enable/disable flash, select macro or panoramic camera modes,
       etc.
       Thus, the specification expressly instructs one skilled in the art to interact via touch
technology with menus on the LCD to control camera features and functions. These camera
functions include automatic upload functions, as the touchscreen control is not described as
being separate or excluded from other camera features. To the contrary, the specification
specifically states that the touch input aspects of the invention should be combined with other
features for "the control of camera menus, camera features, camera options, camera settings,
commanding picture taking, enabling flash, etc."

       Para. 45 - Additionally, not all aspects of the invention need to be practiced
       together, it is contemplated that subsets of the disclosed aspects of the present
       invention may be practiced in an embodiment and still be within the scope of

                                                  3




                                                                                              CEV-0012883
                                                                                                      CEV0000000189
  Case 6:24-cv-00270-AM-DTG               Document 44-6         Filed 03/20/25       Page 5 of 31



       the present invention .... Combining various aspects of the invention herein
       disclosed, such as voice recognition, touch input, gaze tracking, etc/or camera
       control provides much more natural and human interfacing to the camera system
       for the control of camera menus, camera features , camera options, camera
       settings, commanding picture taking, enabling flash, etc.
       The specification even discloses using the LCD display (which is the touch-sensitive
display, as described in Para. 22) with cellular upload:

       Para.37 - In a second preferred embodiment of this aspect of the invention, the
       inventive camera system is equipped with software and hardware coupled to the
       camera controller allowing independent communication with a computer
       network for the primary purpose of communicating its pictures over the
       internet. .. Alternatively, the invention contemplates the use of .. . cellular data
       networks .. . as the interconnection technology (FIG. 3, element 46b) used by the
       inventive camera system .... The camera system LCD display sen,es the purpose
       of displaying internet webpages when the user is navigating the internet in
       addition to its function as the camera display. So equipped, the inventive
       camera system can now independently upload its pictures to any of the internet-
       based photo printing services, such as those provided by Walmart.com,
       Walgreens.com, Kodak.com, etc., without the need for first storing the photos to
       a computer system and then connecting the computer system to the internet to
       upload the pictures."
       Thus, "so equipped" with the previously described LCD touchscreen display, Para. 36
teaches that "[t]he camera system preferably includes the ability for the user to indicate to the
camera which pictures to offload so that the camera offloads only those pictures that are so
indicated by the user," this "indicating" can be the disclosed method of selecting a menu option
on a touchscreen to control the camera.
       Similarly, Paragraph 38 describes user instructions for the upload, which can happen via
the disclosed touchscreen. There, the specification says that the system is "operable for being
instructed to automatically initiate a connection to the internet whenever the predetermined
conditions are met and it is in range of the network connection" and "[a]dditionally ... operable
so that the automatic connection is made only at certain times of the day or weekends, etc., so as
to confine picture transmission to periods of low network usage or periods of cheaper network
access, etc." The specification uses the word "operable" in describing user instructions to the
camera system. As explained above, the specification explicitly describes that such instructions
are sent via the touchscreen.
       Also, in Fig. 3 The LCD touchscreen display 42 is shown as an input to the camera
controller 40 that handles "other camera control" 50. In other words, Fig. 3 shows the

                                                 4




                                                                                              CEV-0012884
                                                                                                    CEV0000000189
  Case 6:24-cv-00270-AM-DTG              Document 44-6         Filed 03/20/25       Page 6 of 31



interconnection between the LCD touchscreen input and "other" functions, such as upload
functions.




        B. The specification discloses the claimed conditions for upload.
        The NFOA asserts: "The description only supports the automatic connection upload
when two conditions are met (1) ' it has a predetermined number of pictures' and (2) 'can so
connect' . Thus, the disclosure does not support the conditions of automatic upload set forth in
claims 21 and 25."
       Applicant's Response: The NFOA is incorrect, and all of the claimed conditions for
upload are supported.
        The specification describes photo offloading as an "aspect of the present invention" and
that offloading occurs when "a set of predetermined conditions, such as day, time, number of
pictures to offload, etc., are met."
       Para. 36 - Once a user of a camera has taken pictures, typically he will wish to
       print or otherwise develop the pictures for viewing, framing, etc. Another aspect
       of the present invention provides for simpler photo offloading from the
       modern digital camera when a set of predetermined conditions, such as day,
       time, number of pictures to offload, etc., are met. The camera system
       preferably includes the ability for the user to indicate to the camera which
       pictures to offeoad so that the camera offeoads only those pictures that are so
       indicated by the user ....

                                                 5




                                                                                            CEV-0012885
                                                                                                   CEV0000000189
  Case 6:24-cv-00270-AM-DTG               Document 44-6         Filed 03/20/25       Page 7 of 31



Thus, the specification expressly states that upload is dependent on a set of conditions.
       Under the broadest reasonable interpretation, a "set" of conditions is certainly not limited
to just two conditions, and can include 3, 4, 5 or even 10+ conditions. Therefore, the number of
conditions would be limited to two conditions only if the specification expressly limited the
scope of the term "set" in some way. But the specification describes the "set" expansively,
consistent with its BRI. Specifically, the inventor confirms that the "set of predetermined
conditions" clearly includes greater than two conditions by: (I) expressly introducing the list
with "such as", (2) listing three examples of conditions (different from the two in the NFOA),
and (3) adding the open-ended phrase "etc." Moreover, as discussed below, the specification
expressly describes numerous additional conditions associated with the upload process in
Paragraphs 36 ("day, time, number of pictures to offload, etc.," "user ... indicate[s] to the camera
which pictures to offload"), 37 (upload over the cellular network), 38 ("whenever the
predetermined conditions are met," "it is in range of the network connection," "confine[d] ... to
periods of cheaper network access") and 48 ("time, date, status of equipment, etc.").
       As to the user "designation" of photos being a condition, as shown above, the user
designating photos is discussed right next to the discussion of conditions in para. 36. In that
embodiment, "the camera offloads only those pictures that are so indicated by the user." Thus,
"designation" of pictures is in fact a condition for upload (and discussed in that section) because
if no pictures are designated, no upload will occur.
       Para. 37 describes this same upload "aspect of the invention" in which the pictures are
uploaded over the cellular network:
       Para. 37 - In a second preferred embodiment of this aspect of the invention, the
       inventive camera system is equipped with software and hardware coupled to the
       camera controller allowing independent communication with a computer
       network for the primary purpose of communicating its pictures over the
       internet. ... [T]he invention contemplates the use of ... cellular data networks,
       etc. as the interconnection technology (FIG. 3, element 46b ) ....
       Para. 38 describes this "aspect of the invention" too, emphasizing that "the inventive
camera system is operable for being instructed to automatically initiate a connection to the
internet, LAN, printer, etc. whenever the predetermined conditions are met and it is in range of
the network connection, (e.g., WIFI, Bluetooth, wireless USB, wired LAN, etc)." As this is an
"enhancement" to the "above-disclosed" upload " aspect" (of Para. 36), Para. 38 is certainly not
limiting automatic upload to just two conditions, as suggested by the Examiner. Instead, Para. 38

                                                  6




                                                                                             CEV-0012886
                                                                                                    CEV0000000189
  Case 6:24-cv-00270-AM-DTG               Document 44-6          Filed 03/20/25       Page 8 of 31



of the specification clearly refers to and further explains the expansive "predetermined
conditions" (plural) referenced in Para. 36.
        Para. 38 also describes that upload can be "confine[d] .. .to periods of cheaper network
access." Without doubt, a person of skill in the art would readily understand that the upload is
conditioned upon (i.e., confined to) the current status of the network costs. This also is clearly
one of the possible "conditions" for upload, even if it is not explicitly called a "condition" in
para. 36 above. In other words, network access fees are one of the "etc." conditions contemplated
by the specification.
        Par. 48 emphasizes again that the set of predetermined rules or conditions for automatic
upload is expansive and includes " status of equipment" (which can be used to determine if the
device is in one of the periods without potentially increased cellular network access fees) as one
of the upload conditions :

        It is further contemplated that certain aspects of the presently disclosed invention
        have application beyond those disclosed herein .. .. As an example, automatically
        connecting to the internet when a set ofpredetermined rules or conditions (such
        as time, date, status of equipment. etc) is met would be useful for the
        download/upload of information from/to the internet, like music, video, etc. for
        processing, storage, transmission to another party, etc ..
        Thus, in fact, all four of the conditions set forth in the claim are expressly supported and
described in the specification.
        C. The specification discloses "the upload is allowed because the system is within
            one of the periods without potentially increased cellular network access fees, as
            determined using data from the cellular interface" and "the controller has
            confirmed that the camera system is within a period without potentially
            increased cellular network access fees, as determined using data from the
            cellular interface."
        The NFOA asserts: "There is no disclosure of determining a period based on data from
the cellular Interface."
       Applicant's Response: The NFOA is incorrect.
        The specification expressly describes that upload can be confined to "periods of cheaper
network access," that the device can be a cellular phone with known structures for accomplishing
that task, and that "status of equipment" is used by the cellular phone to make the upload
determination, as previously confirmed by the Examiner.

                                                  7




                                                                                               CEV-0012887
                                                                                                     CEV0000000189
  Case 6:24-cv-00270-AM-DTG                Document 44-6           Filed 03/20/25           Page 9 of 31




       In a related application, Applicant addressed the disclosure in para. 38, and the Examiner
agreed that a similar claim element was supported . Specifically, during prosecution of
Application No. 15/188, 736 (US Patent No. 9,936,116), Applicant amended the claims to recite:
               (f) the controller configured to .. .(ii) receive, via the touch sensitive
       display, a user selection of an upload option that instructs the device to confine
       automatic picture upload to periods without potential cellular network access
       fees; and
               (iii) automatically upload designated pictures ...only if predetermined
       conditions are met, the predetermined conditions including at least the controller
       receiving: (1) an indication from the cellular interface that the upload is
       acceptable based on the selected upload option;
       Applicant explained that para. 38 supports these elements, which distinguish the prior art,
and the Examiner agreed. See December 5, 2017 Interview and December 11, 2017
Amendment.
       Para. 38 says explicitly that picture transmission is confined to "periods of low network
usage or periods of cheaper network access."

       In an enhancement to the above-disclosed embodiments of this aspect of the
       invention, the inventive camera system is operable for being instructed to
       automatically initiate a connection to the internet, LAN, printer, etc. whenever
       the predetermined conditions are met and it is in range of the network connection,
       (e.g. , WIFI, Bluetooth, wireless USB, wired LAN, etc) ... Additionally, the
       inventive camera system is preferably operable so that the automatic connection is
       made only at certain times of the day or weekends, etc., so as to confine picture
       transmission to periods of low network usage or periods of cheaper network
       access, etc ... .In the second embodiment above, the inventive camera system
       automatically connects to the internet preferably via WIFI, although cellular
       network, etc. connection is also contemplated, when it has a predetermined
       number of pictures and can so connect, and will send the pictures to virtually any
       internet destination without user intervention. For example, the inventive camera
       system can be instructed to automatically send the pictures to an email account,
       internet picture hosting site, web-based photo printing site, the user's internet-
       connected home computer (when he is on vacation, for instance), etc. In this way,
       valuable pictures are immediately backed-up and the need for reliance on
       expensive camera storage media like flash cards, SD, etc. is greatly reduced.




                                                   8




                                                                                                  CEV-0012888
                                                                                                      CEV0000000189
  Case 6:24-cv-00270-AM-DTG                Document 44-6        Filed 03/20/25       Page 10 of 31



        Applicant's disclosure also ties the above-referenced automatic upload embodiment to
cameras in cellular phones, while acknowledging the fees charged by cellular service providers.
The specification says at Para. 44:

        Additionally, other aspects of the present invention taught for the improved
        camera system are applicable to the improved cell phone herein disclosed ... . The
        aspect of the invention allowing for automatic connection to a LAN or the internet
        is also contemplated for use with cell phone cameras. This aspect of the invention
        ameliorates the prior art storage space limitation which severely hampers the
        utility of the cell phone camera. Cellular service providers typically charge a fee
        for internet access or emailing and so an automatic feature to connect to the net
        or send email for the purposes of transmitting pictures can improve revenue
        generation for these companies.
        Thus, the specification describes that (1) the cellular device can be instructed to confine
uploads to "periods of cheaper network access" and (2) cell service providers charge network
fees.
         In addition, para. 48 of applicant's specification emphasizes "status of equipment" (e.g.,
network equipment) as one of the possible conditions for upload:

        It is further contemplated that certain aspects of the presently disclosed invention
        have application beyond those disclosed herein .... As an example, automatically
        connecting to the internet when a set ofpredetermined rules or conditions
        (such (IS time, d"te, status of equipment, etc) is met would be useful for the
        download/upload of information from/to the internet, like music, video, etc. for
        processing, storage, transmission to another party, etc.
        "Periods of cheaper network access," as discussed in Para.38, can be determined via
"status of equipment" because the device receives cellular network information from equipment
on the cellular network. As an example at the time of the invention (known to a PHOSITA),
equipment on the network indicates to the cellular phone (through its cellular interface) that the
device is roaming on a more-expensive non-provider network. This roaming period would not be
"one of the periods without potentially increased cellular network access fees," and upload is
prevented during this particular period.
        Thus, as previously found by the Examiner for a similarly-worded claim, there is express
support in the specification for the language of claim 21. Moreover, it is established law that in
haec verba disclosure is not required and the question is whether the specification conveys with
reasonable clarity to those skilled in the art that the applicant was in possession of the claimed
invention," as explained above.

                                                  9




                                                                                               CEV-0012889
                                                                                                     CEV0000000189
  Case 6:24-cv-00270-AM-DTG             Document 44-6        Filed 03/20/25      Page 11 of 31



 III. Conclusion

       In view of the above, Applicant believes that claims 21-28 are in condition for allowance.
If the Examiner has any questions, please contact the undersigned.
                                                 Respectfully Submitted,
                                                 /Justin J. Lesko/
                                                 Justin J. Lesko
                                                 Reg. No. 69,643
Dated: June 11 , 2021
                                                 The Law Offices of Lisa & Lesko, LLC
                                                 55 East Monroe Street Suite 3800
                                                 Chicago, IL 60603
                                                 Telephone: (773) 484-3285
                                                 Attorney for Applicant




                                                                                          CEV-0012890
                                                                                              CEV0000000189
          Case 6:24-cv-00270-AM-DTG                   Document 44-6          Filed 03/20/25               Page 12 of 31
                                                      -------~-
                    UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                 UNITED STATES DEPARTMENT OF COMMERCE
                                                                                 United States Patent and Trademark Office
                                                                                 Address: COMMISSIONER FOR PA TENTS
                                                                                          P.O. Box 1450
                                                                                          Alexandria, Virginiu 22313- 14S0
                                                                                        www.uspto,KC'IV

                        FEB 1Z ZOZ1

    APPLICATION NO.                                   FIRST NAMED INVENTOR           ATTORNEY DOCKET NO.             CONFIRMATION NO.

       16/663,742               10/25/2019              Jeffrey C. Konicek               Torpere-F04-514                      3076

       107554            7590            02/01/2021                                                         EXAMINER
       JUSTIN LESKO
       LAW OFFICES OF LISA & LESKO, LLC                                                               FULLER, RODNEY EVAN

       C/0 INTELLEV ATE, LLC.
       900 Second Ave S. Suite 600                                                           ART UNIT                  PAPER NUMBER

       MINNEAPOLIS, MN 55402                                                                     2852


                                                                                            MAIL DATE                 DELIVERY MODE

                                                                                            02/01/2021                       PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




                                                                                                                  CEV-0012892
                                                                                                                             CEV0000000 189
                  Case 6:24-cv-00270-AM-DTG                               Document   44-6 Filed 03/20/25
                                                                              Application No.
                                                                                                            Page 13 of 31
                                                                                                       Applicant(s)
                                                                                   16/663,742                                    Konicek, Jeffrey C.
                     Office Action Summary                                         Examiner                                      Art Unit           AIA (FITF) Status
                                                                                   RODNEY FULLER                                 2852               No
          -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address ••
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING
 DATE OF THIS COMMUNICATION .                               -
           Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed after SIX (6) MONTHS from the mailing
           date of this communication.
           If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication .
           Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any earned patent term
           adjustment. See 37 CFR 1.704(b).

 Status                                                                                                                                        \.

      1)~ Responsive to communication(s) filed on 10/25/2019.
          DA declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _ .
     2a)O This action is FINAL.                        2b) ~ This action is non-final.
      3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview
           on _ _ ; the restriction requirement and election have been incorporated into this action.
      4 )0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.

 Disposition of Claims*
         5)    ~    Claim(s) 21-28 is/are pending in the application.
                 Sa) Of the above claim(s) _ _ is/are withdrawn from consideration.
         6) O Claim(s)       is/are allowed .
         7) ~ Claim(s) 21-28 is/are rejected.
         8) O Claim(s)     is/are objected to.
         9) O Claim(s) _ _ are subject to restriction and/or election requirement
 * If any claims have been determined allowable. you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http·//www uspto gov/patents/jnjt events/pph/jndex jsp or send an inquiry to PPHfeedback@uspto gov

 Application Papers
      10)0 The specification is objected to by the Examiner.
      11)~ The drawing(s) filed on 10/25/2019 is/are: a)~ accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
      12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
                 a)O All   b)O Some**         c)O None of the:
                   1.0 Certified copies of the priority documents have been received.
                   2.0 Certified copies of the priority documents have been received in Application No. _ _ .
                     3.0       Copies of the certified copies of the priority documents have been received in this National Stage
                               application from the International Bureau (PCT Rule 17.2(a)).
  ** See the attached detailed Office action for a list of the certified copies not received.

 Attachment(s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   O Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date _ _ .
 2) ~ Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
                                                                                                  4)   0 Other: _ _.
      Paper No(s)/Mail Date 10/25/2019, 03/11/2020 1 08/27/2020, 09/29/2020


U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                                    Office Action Summary                               Part of Paper No./Mail Date 20210129




                                                                                                                                                    CEV-0012893
                                                                                                                                                           CEV0000000189
 Case 6:24-cv-00270-AM-DTG                  Document 44-6             Filed 03/20/25         Page 14 of 31
Application/Control Number: 16/663, 742                                                                    Page 2
Art Unit: 2852
                                          DETAILED ACTION

                                  Notice of Pre-A/A or A/A Status

1.     The present application is being examined under the pre-AIA first to invent

provisions.

                                 Claim Rejections - 35 USC § 112

2.     The following is a quotation of the first paragraph of 35 U.S.C. 112(a):

                (a) IN GENERAL-The specification shall contain a written description of the
       invention, and of the manner and process of making and using it, in such full, clear, concise,
       and exact terms as to enable any person skilled in the art to which it pertains, or with which it
       is most nearly connected, to make and use the same, and shall set forth the best mode
       contemplated by the inventor or joint inventor of carrying out the invention .



       The following is a quotation of the first paragraph of pre-AIA 35 U.S.C. 112:

                  The specification shall contain a written description of the invention, and of the
       manner and process of making and using it, in such full, clear, concise, and exact terms as to
       enable any person skilled in the art to which it pertains, or with which it is most nearly
       connected, to make and use the same, and shall set forth the best mode contemplated by the
       inver:itor of carrying out his invention.



3.     Claims 21-28 rejected under 35 U.S.C. 112(a) or 35 U.S.C. 112 (pre-AIA), first

paragraph, as failing to comply with the written description requirement. The claim(s)

contains subject matter which was not described in the specification in such a way as to

reasonably convey to one skilled in the relevant art that the inventor or a joint inventor,

or for applications subject to pre-AIA 35 U.S.C. 11'2, the inventor(s), at the time the

application was filed, had possession of the claimed invention.

       a.      Claim 21 states "(i) receive, via the touch sensitive display, a user

       selection of an upload option that instructs the camera system to confine

       automatic picture upload to periods without potentially increased cellular network

       access fees" and Claim 25 states "(i) display on the touch sensitive display a




                                                                                                      CEV-0012894
                                                                                                            CEV0000000189
 Case 6:24-cv-00270-AM-DTG             Document 44-6         Filed 03/20/25       Page 15 of 31
Application/Control Number: 16/663,742                                                      Page 3
Art Unit: 2852
      user-selectable input that instructs the camera system to confine automatic

      upload periods without potentially increased cellular network access fees". The

      specification sets forth multiple inventions and teaches a "touch sensitive display"

      in paragraph 22. The claims correspond to an invention that is set forth in

      paragraphs 36 - 38. Paragraph 38 states: "Additionally, the inventive camera

      system is preferably operable so that the automatic connection is made only at

      certain times of the day or weekends, etc., so as to confine picture transmission

      to periods of low network usage or periods of cheaper network access, etc.".

      There is no disclosure of the touch sensitive display used to select an upload

      option or a user-selectable input related to upload periods.



      b.     Claim 21 states "automatically connect to the picture hosting service" ...

      when "all three of the following conditions are met: (1 )" ... "within one of the

      periods without potentially increased cellular network access fees ... ",

      (2) ... "connected to internet via the cellular interface ... ", "and (3) at least one" ...

      "picture" ... "has been designated through the touch sensitive display" ... "to be

      uploaded ... ". Claim 25 states "automatically connect to a picture hosting

      service ... "during any period" ... "in which all the following conditions are met: (1)

      the controller has received from a display a selection" ... "to confine" ... "uploads

      to periods without potentially increased cellular network fees; (2) controller has

      confirmed" ... "system is within a period" .. "as determined using data from the

      cellular interface; (3) they system has connection to the internet. .. "; and (4) at

      least one image" ... "has been designated through the touch sensitive display" .. .




                                                                                         CEV-0012895
                                                                                              CEV0000000189
 Case 6:24-cv-00270-AM-DTG            Document 44-6        Filed 03/20/25       Page 16 of 31
Application/Control Number: 16/663, 742                                                   Page4
Art Unit: 2852
      to be uploaded ... ". Paragraph 38 states: "In the second embodiment, the

      inventive camera system automatically connects to the internet preferably via

      WIFI, although cellular network, etc. connection is also contemplated, when it

      has a predetermined number of pictures and can so connect. .. ". Thus, the

      description only supports the automatic connection upload when two conditions

      are met (1) "it has a predetermined number of pictures" and (2) "can so connect".

      Thus, the disclosure does not support the conditions of automatic upload set

      forth in claims 21 and 25.



      c.     Claim 21 sets forth the limitation "within one of the periods without

      potentially increased cellular network access fees, as determined using data from

      the cellular interface". Claim 25 sets forth the limitation "within a period without

      potentially increased cellular network access fees, as determined using data from

      the cellular interface". Paragraph 38 states: "Additionally, the inventive camera

      system is preferably operable so that the automatic connection is made only at

      certain times of the day or weekends, etc., so as to confine picture transmission

      to periods of low network usage or periods of cheaper network access, etc.".

      There is no disclosure of determining a period based on data from the cellular

      interface.



      d.    •Claim 21 sets forth the limitation "at least one" ... "picture" .. •. "has been

      designated through the touch sensitive display as part of the group of pictures to

      be uploaded ... ". Claim 25 sets forth the limitation "at least one" .. "picture" ... "has




                                                                                       CEV-0012896
                                                                                               CEV0000000189
 Case 6:24-cv-00270-AM-DTG           Document 44-6        Filed 03/20/25     Page 17 of 31
Application/Control Number: 16/663, 742                                               Page 5
Art Unit: 2852
       been designated through the touch sensitive display as part of the group

       of' .... "pictures to be uploaded". The specification sets forth multiple inventions

       and teaches a "touch sensitive display" in paragraph 22. Paragraph 36 states

       "The camera system preferably includes the ability for the user to indicate to the

       camera which pictures to upload so that the camera offloads only those pictures

       that are so indicated by the user." There is no disclosure that the touch sensitive

       display is used to select photos to be uploaded.

       e.     Claims 22-24 depend from claim 21 and therefore include the deficiencies

       of claim 21.

       f.     Claims 26-28 depend from claim 25 and therefore include the deficiencies

       of claim 25.



                                    Double Patenting

4.     The nonstatutory double patenting rejection is based on a judicially created

doctrine grounded in public policy (a policy reflected in the statute) so as to prevent the

unjustified or improper timewise extension of the "right to exclude" granted by a patent

and to prevent possible harassment by multiple assignees. A nonstatutory double

patenting rejection is appropriate where the conflicting claims are not identical, but at

least one examined application claim is not patentably distinct from the reference

claim(s) because the examined application claim is either anticipated by, or would have

been obvious over, the reference claim(s). See, e.g., In re Berg, 140 F.3d 1428, 46

USPQ2d 1226 (Fed. Cir. 1998); In re Goodman, 11 F.3d 1046, 29 USPQ2d 2010 (Fed.

Cir. 1993); In re Longi, 759 F.2d 887, 225 USPQ 645 (Fed. Cir. 1985); In re Van Ornum,




                                                                                    CEV-0012897
                                                                                        CEV0000000189
     Case 6:24-cv-00270-AM-DTG        Document 44-6       Filed 03/20/25    Page 18 of 31
Application/Control Number: 16/663, 742                                               Page 6
Art Unit: 2852
686 F.2d 937,214 USPQ 761 (CCPA 1982); In re Vogel, 422 F.2d 438, 164 USPQ 619

(CCPA 1970); In re Thorington, 418 F.2d 528, 163 USPQ 644 (CCPA 1969).

         A timely filed terminal disclaimer in compliance with 37 CFR 1.321 (c) or 1.321 (d)

may be used to overcome an actual or provisional rejection based on nonstatutory

double patenting provided the reference application or patent either is shown to be

commonly owned with the examined application, or claims an invention made as a

result of activities undertaken within the scope of a joint research agreement. See

MPEP § 717.02 for applications subject to examination under the first inventor to file

provisions of the AIA as explained in MPEP § 2159. See MPEP § 2146 et seq. for

applications not subject to examination under the first inventor to file provisions of the

AIA. A terminal disclaimer must be signed in compliance with 37 CFR 1.321 (b ).

         The USPTO Internet website contains terminal disclaimer forms which may be

used. Please visit www.uspto.gov/patent/patents-forms. The filing date of the application

in which the form is filed determines what form (e.g., PTO/SB/25, PTO/SB/26,

PTO/AIN25, or PTO/AIN26) should be used. A web-based eTerminal Disclaimer may

be filled out completely online using web-screens. An eTerminal Disclaimer that meets

all requirements is auto-processed and approved immediately upon submission. For

more information about eTerminal Disclaimers, refer to

www.uspto.gov/patents/process/file/efs/guidance/eTD-info-l.jsp.

5.       Claims 21 and 25 are rejected on the ground of nonstatutory double patenting as

being unpatentable over claim 1 of U.S. Patent No. 9,936,116. Although the claims at

issue are not identical, they are not patentably distinct from each other because the

current claims are broader and thus fully met by claim 1 of U.S. Patent No 9,936,116.




                                                                                   CEV-0012898
                                                                                        CEV0000000189
 Case 6:24-cv-00270-AM-DTG             Document 44-6         Filed 03/20/25   Page 19 of 31
Application/Control Number: 16/663,742                                                Page 7
Art Unit: 2852
6.     Claims 21 and 25 are rejected on the ground of nonstatutory double patenting as

being unpatentable over claims 1 and 17 respectively of U.S. Patent No. 10,063,761.

Although the claims at issue are not identical, they are not patentably distinct from each

other because the current claims are broader and thus fully met by claims 1 and 17 of

U.S. Patent No. 10,063,761 .




                                           Conclusion

7.     The prior art made of record and not relied upon is considered pertinent to

applicant's disclosure:

              i.       Kusaka, Yosuke et al.          US 20050001024 A1 discloses

              automatically uploading images from a cellphone (See paragraph 0477)

              ii.      Ma; David Yin-Shur et al. US 20060031126 A1 discloses a mobile

              phone that can automatically upload photo data (see paragraph 0049) and

              described the cost of cellular networks in uploading photos (see paragraph

              0009).

              iii.     Anderson; Eric C.        US 20060013197 A1 discloses automatically

              uploaded images (see abstract)

              iv.      Slater, Michael et al.         US 20020087546 A 1 discloses a digital

              photo management system that automatically uploads photos (See

              paragraph 0013)

              v.       Montulli, et al. US 2006/0189349 discloses a system for automatic

              uploading of cell phone images (See abstract)




                                                                                    CEV-0012899
                                                                                        CEV0000000 189
 Case 6:24-cv-00270-AM-DTG          Document 44-6      Filed 03/20/25    Page 20 of 31
Application/Control Number: 16/663,742                                            Page 8
Art Unit: 2852
             vi.     Paul, et al. US 2005/0266839 discloses automatically sending

             images at a predetermined time (See claim 6)

             vii.    Kahn, et al. US2004/0004737 discloses automatically sending

             photos to a printing service (See abstract)

             viii.   Bateman, et al. (US 2002/0194414) discloses transferring data

             such as images over a cellular network (See paragraphs 0020, 0040)



8.     Any inquiry concerning this communication or earlier communications from the

examiner should be directed to RODNEY FULLER whose telephone number is

(571 )272-2118. The examiner can normally be reached on 8:00 am - 4:30 pm, Monday

- Friday.

       Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an

interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Clayton Laballe can be reached on 571-272-1594. The fax phone number

for the organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see https://ppair-




                                                                                 CEV-0012900
                                                                                     CEV0000000 189
 Case 6:24-cv-00270-AM-DTG         Document 44-6     Filed 03/20/25    Page 21 of 31
Application/Control Number: 16/663, 742                                        Page 9
Art Unit: 2852
my.uspto.gov/pair/PrivatePair. Should you have questions on access to the Private

PAIR system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free).

If you would like assistance from a US PTO Customer Service Representative or access

to the automated information system, call 800-786-9199 (IN USA OR CANADA) or 571-

272-1000.




/RODNEY E FULLER/
Primary Examiner, Art Unit 2852

January 29, 2021




                                                                              CEV-0012901
                                                                                    CEV0000000189
                   Case 6:24-cv-00270-AM-DTG                                 Document 44-6              Filed 03/20/25           Page 22 of 31
                                                                                      Application/Control No.              Applicant(s)/Patent Under
                                                                                      16/663,742                           Reexamination
                                                                                                                           Konicek, Jeffrey C.
                 Notice of References Cited                                           Examiner                             Art Unit
                                                                                      RODNEY FULLER                        2852                Page 1 of 1

                                                                           U S. PATENT DOCUMENTS
                     Document Number                       Date
*               Country Code-Number-Kind Code           MM-YYYY
                                                                                               Name                    CPC Classification       US Classification
*      A      US-20050001024-A1                        01-2005          Kusaka, Yosuke                                     G06F3/041                235/375
*      B      US-20060031126-A 1                       02-2006          Ma; David Yin-Shur                                G06Q30/0601               705/26.1
*      C      US-20060013197-A 1                       01-2006          Anderson ; Eric C.                                H04W12/062                370/352
*      D      US-20020087546-A 1                       07-2002          Slater, Michael                                    G06F16/48                   1/1
*      E      l,JS-20060189349-A 1                     08-2006          Montulli; Louis J.                                H04N1/00204               455/556.1
*      F      US-20050266839-A 1                       12-2005          Paul, Glenn                                       H04N1/00244               455/418
*      G      US-20040004 737-A 1                      01-2004          Kahn, Philippe R.                                 H04N1/00151               358/1.15
*      H      US-20020194414-A 1                       12-2002          Bateman, John                                     G06F1 / 1632              710/303
        I
       J
       K

       L

       M

                                                                       FOREIGN PATENT DOCUMENTS
                     Document Number                       Date
*               Country Code-Number-Kind Code           MM-YYYY
                                                                                 Country                           Name                        CPC Classification

       N
       0
       p

       a
       R
       s
       T
                                                                          NON-PATENT DOCUMENTS
                                                Include as applicable: Author, Title Date, Publisher, Edition or Volume, Pertinent Pages)
*                                   ---



       u


      V




      w



      X


*A copy of this reference is not being furnished with this Office action. (See MPEP § 707 .OS(a).)
Dales in MM-YYYY format are publication dates. Classifications may be US or foreign.
U.S. Patent and Trademarl< Office
PT0-892 (Rev. 01 -2001)                                                 Notice of References Cited                     Part of Paper No. 20210129




                                                                                                                                            CEV-0012902
                                                                                                                                               CEV0000000189
   Case 6:24-cv-00270-AM-DTG         Document 44-6        Filed 03/20/25   Page 23 of 31



              IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

Title             AUTOMATIC UPLOAD OF PICTURES FROM A CAMERA
Serial. No.       TBD                Confirmation No. TBD
Applicant         Jeffrey C. Konicek TC/ A.U.         TBD
Filed             October 24, 2019   Examiner         TBD

Docket No.        Torpere-F04-514
Customer No.      107554



 Mail Stop Amendment
 Commissioner for Patents
 P.O. Box 1450
 Alexandria VA 22313-1450

                             PRELIMINARY AMENDMENT

 Dear Sir:

        Amendments to the Specification begin on page 2 below.

        Amendments to the Drawings begin on page 3 below.

        Amendments to the Claims begin on page 4 below.

        Applicant's Remarks begin on page 7 below.




                                                                                 CEV-0017322
                                                                                     CEV0000000189
  Case 6:24-cv-00270-AM-DTG              Document 44-6         Filed 03/20/25     Page 24 of 31



                        AMENDMENTS TO THE SPECIFICATION

       Applicant herewith submits a substitute specification including 1) a new TITLE of the
invention, 2) a cross-reference to related applications, and 3) a brief description of the several
views of the drawings as required by 37 CFR 1.74 and 1.77(b)(7). The substitute specification is
submitted with markings and accompanied by a clean version without markings in compliance
with 37 CFR 1.52, l.12l(b)(3) and 1.125 . In accordance with 37 CFR l.125(b), Applicant
believes that the substitute specification contains no new matter.




                                                 2




                                                                                          CEV-0017323
                                                                                               CEV0000000189
 Case 6:24-cv-00270-AM-DTG              Document 44-6         Filed 03/20/25      Page 25 of 31



                           AMENDMENTS TO THE DRAWINGS

       Please replace Figures 1, 2, 3, 4, and Sa-c with replacement Figures IA, lB , 2, 3, 4, SA,

SB, and SC. The replacement figures are included on sheets 1/8 through 8/8 submitted herewith

and identified as "Replacement Sheets." Applicant believes that the replacement sheets contain

no new matter.




                                                3




                                                                                           CEV-0017324
                                                                                                CEV0000000189
  Case 6:24-cv-00270-AM-DTG                 Document 44-6         Filed 03/20/25       Page 26 of 31



                                AMENDMENTS TO THE CLAIMS

This listing of claims will replace all prior versions, and listings, of claims in the application.


1 - 20. (Canceled).

21. (New) A camera system comprising:
    (a) a lens;
    (b) a cellular interface;
    (c) an image sensor that is coupled to the lens and operable to capture pictures;
    (d) a non-volatile local memory that is coupled to the image sensor and operable to store
pictures captured by the image sensor;
    (e) a touch sensitive display;
    (f) a controller coupled to the cellular interface, the non-volatile local memory and the touch
sensitive display, and configured to:
            (i) receive, via the touch sensitive display, a user selection of an upload option that
        instructs the camera system to confine automatic picture upload to periods without
        potentially increased cellular network access fees;
            (ii) automatically connect to a picture hosting service that is internet-based and enable
        an upload to the picture hosting service, over the internet and via the cellular interface, of
        a group of image sensor-captured pictures stored in the local memory, during any period
        detected by the controller in which all three of the following conditions are met:
                     (1) the upload is allowed because the system is within one of the periods
                  without potentially increased cellular network access fees, as determined using
                  data from the cellular interface,
                     (2) the system is connected to the internet via the cellular interface; and
                     (3) at least one image sensor-captured picture stored in the local memory has
                  been designated through the touch sensitive display as part of the group of
                  pictures to be uploaded to the picture hosting service.


22. (New) The camera system of claim 21, wherein the picture hosting service includes printing
services.


                                                      4




                                                                                                   CEV-0017325
                                                                                                      CEV0000000189
  Case 6:24-cv-00270-AM-DTG                Document 44-6        Filed 03/20/25       Page 27 of 31




23. (New) The camera system of claim 21, wherein the controller is configured to automatically
connect to the picture hosting service and enable the upload immediately at any time the three
conditions are met.


24. (New) The camera system of claim 21, wherein the controller is configured to automatically
independently connect to the picture hosting service and enable the upload.


25. (New) A camera system comprising:
   (a) a lens;
   (b) a cellular interface;
   (c) an image sensor that is coupled to the lens and operable to capture pictures;
   (d) a non-volatile local memory that is coupled to the image sensor and operable to store
pictures captured by the image sensor;
   (e) a touch sensitive display;
   (f) a controller coupled to the cellular interface, the non-volatile local memory and the touch
sensitive display, and configured to:
           (i) display on the touch sensitive display a user-selectable input that instructs the
       camera system to confine automatic picture upload to periods without potentially
       increased cellular network access fees;
           (ii) automatically connect to a picture hosting service that is internet-based and enable
       an upload to the picture hosting service, over the internet and via the cellular interface, of
       a group of image sensor-captured pictures stored in the local memory, during any period
       detected by the controller in which all the following conditions are met:
                    (1) the controller has received from the display a selection of the user-
                 selectable input that instructs the camera system to confine automatic picture
                 uploads to periods without potentially increased cellular network access fees;
                    (2) the controller has confirmed that the camera system is within a period
                 without potentially increased cellular network access fees, as determined using
                 data from the cellular interface;
                    (3) the system has a connection to the internet via the cellular interface; and


                                                     5




                                                                                                CEV-0017326
                                                                                                      CEV0000000189
  Case 6:24-cv-00270-AM-DTG             Document 44-6         Filed 03/20/25      Page 28 of 31



                   (4) at least one image sensor-captured picture stored in the local memory has
               been designated through the touch sensitive display as part of the group of image
               sensor-captured pictures to be uploaded to the picture hosting service.


26. (New) The camera system of claim 25, wherein the picture hosting service includes printing
services.


27. (New) The camera system of claim 25, wherein the controller is configured to automatically
connect to the picture hosting service and enable the upload at any time the conditions are met.


28. (New) The camera system of claim 25, wherein the controller is configured to automatically
independently connect to the picture hosting service and enable the upload.




                                                6




                                                                                           CEV-0017327
                                                                                                   CEV0000000189
  Case 6:24-cv-00270-AM-DTG              Document 44-6         Filed 03/20/25       Page 29 of 31



                                           REMARKS
       In this preliminary amendment, Applicant has amended the title of the invention and the
specification to cross-reference related applications. Applicant has also amended the drawings to
show the features of the invention specified in the claims. In the claims, Applicant cancels
claims 1 - 20 and adds new claims 21 - 28 (2 independent claims and 6 dependent claims).
       Independent claims 21 and 25 are in condition for allowance for at least the same reasons
that the Examiner recently issued the claims of related U.S. Patent Nos. 9,936,116 and
10,063,761 in this family. For example, claim 21 element (f)(i) recites:
              "a controller ... configured to ... receive, via the touch sensitive display, a
       user selection of an upload option that instructs the camera system to confine
       automatic picture upload to periods without potentially increased cellular
       network access fees."
(emphasis added). And claim 21 (f)(ii) recites:
              "a controller. .. configured to ... automatically connect to a picture hosting
      service that is internet-based and enable an upload to the picture hosting service,
      over the internet and via the cellular interface, of a group of image sensor-captured
      pictures stored in the local memory, during any period detected by the controller
      in which all three of the following conditions are met:
              (1) the upload is allowed because the system is within one of the periods
      without potentially increased cellular network access fees, as determined using
      data from the cellular interface,
              (2) the system is connected to the internet via the cellular interface; and
              (3) at least one image sensor-captured picture stored in the local memory
      has been designated through the touch sensitive display as part of the group of
      pictures to be uploaded to the picture hosting service."
(emphasis added). Elements (f)(i) and (f)(ii) of independent claim 25 include similar limitations.
      The claimed invention allows uploads to be turned off during periods with potentially
increased cellular network access fees, yet the camera will automatically (1) connect and (2)
enable upload to the picture hosting service of the group of pictures designated for upload in any
period (i.e., without regard to a specified time) without such fees . The system avoids potentially
increased cellular network access fees, such as fees associated with data roaming, but without the
need for the user to set a timer or decide in advance a specific time for upload . When the
conditions are met, the camera takes advantage of the opportunity to upload to the picture
hosting service on the internet by immediately backing up valuable pictures. Applicant's
disclosure at Paragraph 38 describes advantages of such a system while traveling:

                                                  7




                                                                                                CEV-0017328
                                                                                                  CEV0000000189
  Case 6:24-cv-00270-AM-DTG               Document 44-6          Filed 03/20/25    Page 30 of 31



       In an enhancement to the above-disclosed embodiments of this aspect of the
       invention, the inventive camera system is operable for being instructed to
       automatically initiate a connection to the internet, LAN, printer, etc. whenever
       the predetermined conditions are met and it is in range of the network connection,
       (e.g., WIFI, Bluetooth, wireless USB, wired LAN, etc). Once the transmittal of
       the pictures is complete, the inventive camera system preferably terminates the
       connection. Additionally, the inventive camera system is preferably operable so
       that the automatic connection is made only at certain times of the day or
       weekends, etc., so as to confine picture transmission to periods of low network
       usage or periods of cheaper network access, etc ... .In the second embodiment
       above, the inventive camera system automatically connects to the internet
       preferably via WIFI, although cellular network, etc. connection is also
       contemplated, when it has a predetermined number of pictures and can so
       connect, and will send the pictures to virtually any internet destination without
       user intervention. For example, the inventive camera system can be instructed to
       automatically send the pictures to an email account, internet picture hosting site,
       web-based photo printing site, the user's internet-connected home computer
       (when he is on vacation, for instance), etc. In this way, valuable pictures are
       immediately backed-up and the need for reliance on expensive camera storage
       media like flash cards, SD, etc. is greatly reduced.
        As explained in the information disclosure statement provided herewith, none of the
references of record discloses or suggests "an upload option that instructs the camera system to
confine automatic picture upload to periods without potentially increased cellular network access
fees. " Furthermore, none of the references describes, as a condition for upload, that the
controller determines "the upload is allowed because the system is within one of the periods
without potentially increased cellular network access fees, as determined using data from the
cellular interface" and that the controller automatically enables upload of designated photos to
the picture hosting service when this condition and the other conditions are met. Thus, all of the
pending claims are in condition for allowance for at least the same reasons that the Examiner
recently issued the claims of the ' 116 and' 761 patents in this family.
       The remaining dependent claims are allowable as depending from the allowable
independent claim and for their own additional limitations.
       Applicant believes that no new matter has been added. In addition, Applicant has taken
care to prepare the claims in a manner that does not fall within 35 U.S.C. Section 112, Para. 6.
Specifically, Applicant has undertaken to draft the claims in a manner that recites structure,
material, or acts in support of the various operations. Applicant requests that the Examiner
inform Applicant if he believes that any claim falls within 35 U.S.C. Section 112, Para. 6, so that
appropriate amendments can be made.
                                                  8




                                                                                             CEV-0017329
                                                                                                   CEV0000000189
  Case 6:24-cv-00270-AM-DTG                Document 44-6         Filed 03/20/25     Page 31 of 31



       Applicant has also taken care to prepare the claims in compliance with 35 U.S.C. § 101
requiring claims to be directed to specific patentable subject matter. Applicant requests that the
Examiner inform Applicant if he believes any claim is directed to any unpatentable subject
matter so that appropriate amendments can be made.
        Applicant also expressly reserves the right to swear behind and antedate art references
(including those references identified in the various Information Disclosure Statements filed
herein) pursuant to 37 C .F .R. § 1.131.
       In view of the above, Applicant believes that claims 21-28 are in condition for allowance.
If the Examiner has any questions or believes an interview would expedite prosecution of this
case, please contact the undersigned.
                                                     Respectfully Submitted,
                                                     /Justin J. Lesko/
                                                     Justin J. Lesko
                                                     Reg. No. 69,643
Dated: October 25, 2019
                                                     Law Offices of Steven G. Lisa, Ltd.
                                                     55 East Monroe Street Suite 3800
                                                     Chicago, IL 60603
                                                     Telephone: (773) 484-3285
                                                     Attorney for Applicant




                                                 9




                                                                                            CEV-0017330
                                                                                                  CEV0000000189
